"1§

octimevv-; '\i‘é‘-"'~'\»
\*"‘\ ':`-iu\@ 55 grimm 32ch

Case 2:05-cr-20188-.]PI\/| Document 3 Filed 06/03/05 Page 1 of 2 Page|D 3

FfI-EU f§‘f ...... w o.c.
UNITED STATES DISTRICT COURT
FOR THE 05 J[ [!r._i.. ng 2. l l
WESTERN DISTRICT OF TENNESSEE
a<:)a‘r.~;j. a ;;:§ 'z’onLo
88888888§888888§888888888§§888888888888888+8888888§§81§ »§§§

!'-. L"If¥”ic{i$
UNITED STATES 0F AMERICA )
)
vs. ) Cr. No. 05-20138-M1
)
JAMES IVY )

APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
Katrina U. Earlev. Assistant U.S. Attornev applies to the Court for a Writ to have Ja_m§
Ivv, R&I #56550. DOB 03-16-62. is now being detained in the Shelby County Jail appear before the
Honorable Tu M. Pham on Sth . June., 2005. at 2:00 p.m. for initial appearance and for such other
appearances as this Court may direct.

Respectfully Submitted this`,’M, day of June 2005.

Wf/M@

Assistant U. S. Attorney
...0§§00¢¢..00§.§.00.§0......§.§§§¢¢.¢0.§...§........§..§.....
U pon consideration of the foregoing Application,
DAVID G. JOLLEY, U.S. MARSHAL, WESTERN DISTRlCT 0F TENNESSEE, MEMPHIS, TN
SHERIFF/WARDEN,

YOU ARE HEREBY COMMANDED to have James Ivv

appear before the Honorable Tu M. Pham at the date and time aforementioned.

ENTERED this 3 day of June 2005. `C:\Y
U/M~X-/

UNITED STATES MAGISTRATE JUDGE

`J-= ;s'\:. i~~‘
d erach w

 

j

 

TATESDIRSTICT OURT -WESTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20188 Was distributed by faX, rnail, or direct printing on
June 6, 2005 to the parties listed.

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Jc)n McCalla
US DISTRICT COURT

